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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

 JATOON MOSS, as Personal                  )
 Representative for the ESTATE OF          )
 CRAIG RIDLEY, on behalf of the            )
 Estate and Survivors, Jatoon Moss and     )
 Gary Ridley,                              )
                                           )
           Plaintiff,                      )   CASE NO.: 3:21-cv-1026-MMH-MCR
                                           )
 v.                                        )
                                           )
 RICKY DIXON, as Secretary of the          )
 Florida Department of Corrections, et     )
 al.,                                      )
                                           )
       Defendants.                         )
 _______________________________/          )

 DEFENDANTS COREY AND DURE’S SUPPLEMENTAL CERTIFICATION
        TO REQUEST FOR ORAL ARGUMENT [ECF NO. 52]

         Pursuant to Local Rule 3.01(g), Defendants Amanda Corey and Jean Dure

(collectively, the “Medical Defendants”) hereby advise the Court that Plaintiff Jatoon

Moss opposes the Medical Defendants’ request for oral argument.



                                         Respectfully submitted:
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                                   Jean Dure




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